72 F.3d 128NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Danny Alan VESTAL, Plaintiff-Appellant,v.James B. HUNT, Jr.;  Franklin Freeman, Defendants-Appellees.
    No. 95-7402.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 16, 1995.Decided Dec. 12, 1995.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Salisbury.  James A. Beaty, Jr., District Judge.  (CA-95-422-CV-4)
      Danny Alan Vestal, Appellant Pro Se.
      M.D.N.C.
      AFFIRMED.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Vestal v. Hunt, No. CA-95-422-CV-4 (M.D.N.C. July 24, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    